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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


 STATE OF LOUISIANA ET AL                               CASE NO. 3:21-CV-03970

 VERSUS                                                 JUDGE TERRY A. DOUGHTY

 XAVIER BECERRA ET AL                                   MAG. JUDGE KAYLA D. MCCLUSKY

                                               ORDER

        For the reasons set forth in the Court’s Memorandum Ruling,

        IT IS ORDERED that the Plaintiff States’ Motion for Preliminary Injunction [Doc. No.

 2] is GRANTED.

        IT IS THEREFORE ORDERED that the U.S. Department of Health and Human

 Services and the Center for Medicare and Medicaid Services, along with their directors,

 employees, Administrators and Secretaries are hereby ENJOINED and RESTRAINED from

 implementing the CMS Mandate set forth in 86 Fed. Reg. 61555-01 (November 5, 2021), as to

 all healthcare providers, suppliers, owners, employees, and all others covered by said CMS

 Mandate.

        IT IS FURTHER ORDERED that the scope of this injunction shall be nationwide,

 except for the states of Alaska, Arkansas, Iowa, Kansas, Missouri, New Hampshire, Nebraska,

 Wyoming, North Dakota, South Dakota, since these ten states are already under a preliminary

 injunction order dated November 29, 2021, issued by the Eastern District of Missouri. Missouri

 v. Biden, No. 4:21-CV-01329-MTS (E.D. Mo. Nov. 29, 2021).

        IT IS FURTHER ORDERED that this preliminary injunction shall remain in effect

 pending the final resolution of this case, or until further orders from this Court, the United States

 Court of Appeals for the Fifth Circuit, or the United States Supreme Court.
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        IT IS FURTHER ORDERED that no security bond shall be required under Federal

 Rule of Civil Procedure 65.

        MONROE, LOUISIANA, this 30th day of November 2021.




                                                          Terry A. Doughty
                                                     United States District Judge
